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                                     FILED15 N[t,./ '231c'.61IJSDC·IJRP




                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION


UNITED STATES OF AMERICA                                  3:23-cr-00378-AN

                 v.                                       INDICTMENT

GABRIEL ANGELIS SERRIANNI aka                             18 U.S.C. §§ 922(0), 924(a)(2)
"PREACHER",
                                                          Forfeiture Allegation
                Defendant.
                                                          Under Seal



                                THE GRAND JURY CHARGES:

                                            COUNTl
                                  (Possession of a Machine Gun)
                                  (18 U.S.C. §§ 922(0), 924(a)(2))

         On or about July 7, 2023, in the District of Oregon, defendant GABRIEL ANGELIS

SERRIANNI aka "PREACHER," did knowingly possess a machine gun, to wit: a silver and

black privately made firearm with no serial number containing a "switch,"

         In violation of Title 18, United States Code, Section 922(0) and 924(a)(2).



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                                FORFEITURE ALLEGATION

       Upon conviction of the offense in Count 1, defendant shaU forfeit to the United States

pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 246l(c), the firearm(s) involved in that offense,

including without limitation:

       (1)      A silver and black privately made fireaim with no serial number containing a

                switch and

       (2)      All associated ammunition, firearm clips and firearm accessories

Dated: November 14, 2023                             A TRUE BILL.




                                                    OFFICIATING FOREPERSON

Presented by:

NATALIE K. WIGHT
United States Attorney


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LEWISS.BURKHART, OSB #082781
Assistant United States Attorney




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